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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                )
                                           )
       Plaintiff,                          )
                                           )
              v.                           )
                                           )
  RICHARD BERNARD GRUNDY, III,             )   NO. 1:17-cr-0221-SEB-TAB-01
       a/k/a White Boy,                    )
  EZELL NEVILLE,                           )                          -02
       a/k/a Bo,                           )
  GILBERTO VIZCARRA-MILLAN,                )                          -04
       a/k/a G,                            )
  MARIO EDUADO VILLASENOR,                 )                          -05
  EMILIO MITCHELL, II,                     )                          -06
  EMILIO MITCHELL, JR.,                    )                          -07
  THOMAS BULLOCK,                          )                          -09
  DION G. MADISON,                         )                          -10
       a/k/a D,                            )
  FRANK S. EARLY,                          )                          -11
  FRANKIE B. RAY,                          )                          -12
  CHRISTOPHER D. BRADFORD, and             )                          -13
  DAONA LEANN GHOLSTON,                    )                          -14
                                           )
       Defendants                          )
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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                )
                                           )
       Plaintiff,                          )
                                           )
              v.                           )
                                           )
  MICHAEL HYATTE,                          )   NO. 1:17-cr-0222-JMS-TAB-02
  LANCE L. HATCHER, JR.,                   )                            -03
        a/k/a Mont Mont,                   )
  NATHANIEL DIXSON,                        )                              -04
        a/k/a Dog,                         )
  DEREK ATWATER,                           )                              -06
        a/k/a Shorty,                      )
  ROBERT LISENBY, JR.,                     )                              -07
        a/k/a Russ,                        )
  JOHN E. BELL,                            )                              -09
  SHEMILAH D. CROWE,                       )                              -10
  JAMES O. BEASLEY,                        )                              -11
        a/k/a Jake,                        )
  RICHARD BERNARD GRUNDY, III,             )                              -12
        a/k/a White Boy,                   )
  GILBERTO VIZCARRA-MILLAN,                )                              -13
        a/k/a G,                           )
  EZELL NEVILLE,                           )                              -15
        a/k/a Bo,                          )
  CHRISTOPHER D. BRADFORD,                 )                              -16
  UNDRAE MOSEBY,                           )                              -17
        a/k/a Soundrae Evans,              )
  MARK T. WILLIAMS,                        )                              -20
        a/k/a Savage,                      )
  ISIAH T. FINCH,                          )                              -21
        a/k/a Fluff,                       )
  DION G. MADISON,                         )                              -22
        a/k/a D, and                       )
  FRANK S. EARLY,                          )                              -23
                                           )
       Defendants                          )
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                                    ORDER


       The Court, having reviewed the Government’s Amended Motion to

  Consolidate, hereby GRANTS the motion.

       It is therefore ORDERED as follows:

             1.    The cases involving defendants Richard Grundy III, Ezell

                   Neville, Gilberto Vizcarra-Millan, and Christopher Bradford

                   (currently docketed at 1:17-cr-0221) are CONSOLIDATED

                   with the cases involving defendants Michael Hyatte, Lance

                   Hatcher Jr., Nathaniel Dixson, Derek Atwater, Robert

                   Lisenby Jr., John E. Bell, Shemilah D. Crowe, James O.

                   Beasley, Undrae Moseby, Mark T. Williams, and Isiah T.

                   Finch (currently docketed at 1:17-cr-0222).   The cases

                   involving these defendants shall proceed under the cause

                   numbers assigned in the Superseding Indictment filed at

                   docket number 1:17-cr-0222 on September 12, 2018.

                   These consolidated cases are all assigned to the docket of the

                   Honorable Jane E. Magnus-Stinson.

             2.    The cases involving defendants Mario Villasenor, Emilio

                   Mitchell II, Emilio Mitchell Jr., Thomas Bullock, Daona

                   LeAnn Gholston, Frankie B. Ray, Dion Madison, and Frank

                   Sam Early shall continue to proceed under docket number
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                      1:17-cr-0221 and remain assigned to the docket of the

                      Honorable Sarah Evans Barker.

  The Court finds that the joinder of these defendants is in the interest of justice

  because the defendants have been named in a common indictment and are

  alleged to have participated in the same series of acts or transactions which

  constitute an offense or offenses, pursuant to Rule 8 of the Federal Rules of

  Criminal Procedure.

         It is FURTHER ORDERED that the telephonic conference scheduled in

  the case docketed at 1:17-cr-0222 for October 25, 2018 at 10:00 a.m. remains

  in effect.   (1:17-cr-0222, Dkt. 473).   Counsel for defendants Richard Grundy,

  III, Ezell Neville, and Gilberto Vizcarra-Millan are ordered to participate in the

  telephonic conference, along with the counsel previously notified.     The purpose

  of the telephonic conference is to schedule a firm trial date in this matter.

         It is SO ORDERED this 23rd day of October, 2018.




                                                 _______________________________
                                                  SARAH EVANS BARKER, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana




 Copies to:

 All counsel of record

 United States Marshal’s Service
                                            6
